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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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  JUAN PACCHA,
                                                                      Case No.: 1:23-cv-2075 (NRM) (MMH)
                                          Plaintiff,
                                                                      NOTICE OF MOTION
                   -against-

 APS ELECTRIC, INC., MIKHAIL MIKHAYLOV,
 and JANE DOE a/k/a GIANA,

                                          Defendant.
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         PLEASE TAKE NOTICE that, upon the Defendants’ Memorandum of Law, the

 Declaration of Emanuel Kataev, Esq., dated September 15, 2023, the Declaration of Mikhail

 Mikhaylov, dated September 15, 2023, and all the prior papers and proceedings herein, Defendants

 will move this Court, before the Hon. Nina R. Morrison, U.S.D.J. at the Eastern District of New

 York, 225 Cadman Plaza East, Courtroom 6E North, Brooklyn, NY 11201-1804 on the date and

 at the time established by the Court, for an Order dismissing Plaintiff’s Complaint and compel

 arbitration pursuant to pursuant to the Federal Arbitration Act, 9 U.S.C. § 1, et seq., and Rules

 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure, and for such other relief as this

 honorable Court may deem just, equitable, and proper.



         PLEASE TAKE FURTHER NOTICE that, pursuant to this Court’s Order dated Sunday,

 September 17, 2023, opposition papers shall be filed by Monday, October 30, 2023, and reply

 papers shall be filed by Tuesday, November 14, 2023.
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 Dated: Lake Success, New York
        October 6, 2023             Respectfully submitted,

                                    MILMAN LABUDA LAW GROUP PLLC

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                                    Mikhail Mikhaylov
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 Attorneys for Plaintiff
 Juan Paccha




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